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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND

ROBB EVANS AND ASSOCIATES
AS COURT APPOINTED RECEIVER
IN THE IN RE SANCTUARY BELIZE
LITIGATION

                Plaintiff                                   CASE NO.: 8:21-CV-2049-PJM

VS.


JORGE DIAZ-CUETO
AND
BELLAR MAR ESTATES, LTD

                Defendants

________________________________/

           DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
      EVIDENTIARY OBJECTIONS WITH EMBEDDED MEMORANDUM OF LAW


       COME NOW Defendants, Jorge Diaz Cueto (“Cueto”) and Bella Mar Ltd., (“Bella Mar”)

by and through Jorge Diaz Cueto and their undersigned local counsel and file this Response In

Opposition To Plaintiff’s Evidentiary Objections, and in support thereof state as follows:

       1.       Defendants filed a motion to dismiss Plaintiff’s complaint and attached a number

of exhibits in support of the motion.

       2.       Plaintiff has filed an evidentiary objection to these exhibits asserting that the

exhibits are not presented in a form that would be admissible in evidence.

       3.       However, presentation of exhibits in a form that would be admissible in evidence

is required the under the heightened summary judgment standard but not required for

consideration of a motion to dismiss.

       4.       Accordingly, Defendants submit that Plaintiff’s evidentiary objections are
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irrelevant and improper for consideration of Defendants’ motion to dismiss.

                                       MEMORANDUM OF LAW

       When a defendant attaches a document to its motion to dismiss for failure to state a

claim, the court may consider it in determining whether to dismiss the complaint if it was

integral to and explicitly relied on in the complaint and if the plaintiff does not challenge its

authenticity. Parker v. Am. Brokers Conduit, 179 F. Supp. 3d 509 (D. Md. 2016); Johnson v.

James B. Nutter & Co., 438 F. Supp. 3d 697 (S.D.W. Va. 2020) (courts may consider documents

outside the complaint in limited circumstances without converting a motion to dismiss for failure

to state a claim into one for summary judgment, so long as the document was integral to the

complaint and there is no dispute about the document's authenticity).

       In Fisher v. Maryland Dep't of Pub. Safety & Corr. Servs., No. JFM-10-CV-0206, 2010

WL 2732334, at *2 (D. Md. July 8, 2010) the Court explained that when a defendant attaches

documents to a motion to dismiss, a court has three options. First, if the documents meet certain

requirements, the court may consider them when evaluating the motion to dismiss. If the

documents do not qualify for consideration at the motion to dismiss stage, the court has two

other alternatives: (1) it can either entirely disregard the attached documents; or (2) under limited

circumstances, it may convert the motion into a motion for summary judgment and consider all

attached documents. Under the first approach, documents attached to the motion to dismiss may

be considered, “so long as they are integral to the complaint and authentic.” To be considered, an

attached document must “be central or integral to the claim in the sense that its very existence,

and not the mere information it contains, gives rise to the legal rights asserted.” Walker v.

S.W.I.F.T. SCRL, 517 F.Supp.2d 801, 806 (E.D.Va.2007) (emphasis added).

       Thus, there are only two conditions to be satisfied in order that exhibits attached to a
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motion to dismiss be considered without converting the motion to dismiss to a motion for

summary judgment. First, the exhibit must be integral to the complaint and second, Plaintiff

does not challenge its authenticity. Here, the basis for this action is the real estate transaction

entered into by and between Bella Mar and Newport that Plaintiff claim was improper. The

affidavits, opinion of Newport’s counsel, appraisal and other exhibits attached to the motion to

dismiss are integral to the complaint as these documents that the real estate transaction was in

fact a bona fide, arms-length and negotiated transaction that, but for Newport’s breach of the

agreement, Newport would have acquired property, the value of which, exceeded the purchase

price. Further, the affidavits and other exhibits properly challenge this Court’s personal

jurisdictions over Defendants.

       Accordingly, the exhibits attached to the motion to dismiss meet the established required

criteria for consideration by this Court in determining whether to dismiss Plaintiff’s complaint.

Indeed, this Court should disregard the heightened summary judgment evidence standard

proposed by Plaintiff in evaluating the exhibits attached to Defendants’ motion to dismiss.

       WHEREFORE, Defendants, Jorge Diaz Cueto and Bella Mar respectfully request that

this Honorable Court overrule and reject Plaintiff’s evidentiary objections in considering

Defendants’ motion to dismiss.

                                               Respectfully Submitted,



                                               /s/____________________________________
                                               Jorge Diaz-Cueto      jorgediazcueto@bellsouth.net
                                               6747 Crandon Boulevard
                                               Key Biscayne, FL 33149
                                               305-890-3600
                                               Defendant, in proper person and out-of-state
                                               attorney for Defendant Bella Mar Estates LTD.
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                                           /s/____________________________________
                                           Brian D. Lyman           bdl@hbdlaw.com
                                           Federal Bar No. 27360
                                           Michael G. Von Sas       mgv@hbdlaw.com
                                           Federal Bar No. 22992
                                           HILLMAN, BROWN & DARROW, P.A.
                                           221 Duke of Gloucester Street
                                           Annapolis, Maryland 21401
                                           410-263-3131/ (fax) 410-269-7912
                                           Local Counsel for Defendants
                                           Diaz-Cueto and Bella Mar Estates, Ltd


                               CERTIFICATE OF SERVICE
         I hereby certify on this 28th day of February, 2022 that a copy of the foregoing
DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S EVIDENTIARY
OBJECTIONS WITH EMBEDDED MEMORANDUM OF LAW was filed using the electronic
case filing system (ECF) maintained by the United States District Court for the District of
Maryland, and I separately sent a copy to the following counsel of record via email: Gary Owen
Caris at gcaris@btlaw.com, James E. Van Horn at jvanhorn@btlaw.com, and Kevin C. Driscoll,
Jr., at kevin.driscoll@btlaw.com.



                                           /s/___________________________________
                                           Brian D. Lyman
